     Case 3:12-cr-03640-CAB   Document 25   Filed 09/04/12   PageID.19   Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                           RK, ~l,S, ;:)iSTf.ilcr COURT
                                                                         HERN DiSTRICre><7 :::W,Jf'ORNIA

UNITED STATES OF AMERICA,                   CASE NO. 12CR3640-CAB

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
JONI RUTH ROMERO (01),

                       Defendant.


          IT APPEARING that the defendant is now ent            led to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal; or

     t  Court has granted the motion of the defendant for a judgment
     acquittal: or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

    of the offense{s) of: 8 USC 1324(a) (2) (B) (iii) AND 18 USC 2.


          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 09/04/12
                                            RUBEN B. BROOKS
                                            UNITED STATES DISTRICT JUDGE



                                            ENTERED ON
